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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                       *

               v.                              *      Criminal Case No. GLR-20-337


STEPHEN SNYDER                                 *

                       Defendant               *

                                             * * *

                                            ORDER

       Today, the Court conducted an teleconference hearing regarding ex-parte communications

by the Defendant with staff of this Court’s chambers. Specifically, the Defendant, who is

represented by counsel, made inquires regarding whether a property that he owned in New York

and used as collateral for current release conditions could be sold or substituted. As indicated on

the record the Defendant made reference to the reinstatement of his license and the propriety

of such communication.

       Subsequent to this conversation another member of chambers staff contacted the Defendant

after she conducted research related to the real property issue. During this discussion the Defendant

was advised to contact the U.S. Attorney’s Office or his counsel. The Defendant conceded that he

should have gone through counsel but was trying to take care of things himself. The conversation

was categorized as disorganized and haphazard. The Defendant apologized for calling chambers.

The call ended.

       During the teleconference hearing this morning the Court emphasized to counsel for the

defendant that the Defendant should not be engaging in this type of ex-parte communication.

Further, the Court advised that it will enter an order prohibiting the Defendant from contacting

chambers without his counsel of record. Failure to comply with this order may lead to sanctions,
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including possible contempt proceedings.

       Despite the informal nature of this correspondence, it constitutes an order of the Court.



SO ORDERED this 10th day of March, 2023.


                                                    _________/s/____________
                                                    George L. Russell, III
                                                    United States District Judge




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